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                                             UNITED STATES DISTRICT COURT
                                            CENTRAL DISTRICT OF CALIFORNIA

                                                                      CASE NUMBER
Ayasli
                                                       Plaintiff(s)                      2:20-cv-09388-CAS-PD
                                     v.

Korkmaz, et al.                                                              (PROPOSED) ORDER ON REQUEST FOR
                                                                               APPROVAL OF SUBSTITUTION OR
                                                     Defendant(s)
                                                                                WITHDRAWAL OF ATTORNEY

         The Court hereby orders that the request of:

SBK Holding A.S.                                         Plaintiff      Defendant        Other
                     Name of Party

to substitute Shalem A. Massey -- Riley, Safer, Holmes & Cancila LLP                                                    who is

           Retained Counsel                Counsel appointed by the Court (Criminal cases only)                    Pro Se

100 Spectrum Center Drive, Suite 440
                                                                Street Address

       Irvine, CA 92618                                                          smassey@rshc-law.com
                             City, State, Zip                                                     E-Mail Address

         (949) 359-5500                               (949) 359-5501                              143281
                     Telephone Number                           Fax Number                                 State Bar Number

as attorney of record instead of Nafiz Cekirge
                                                     List all attorneys from same firm or agency who are withdrawing.




is hereby               GRANTED                 DENIED

The clerk is hereby ordered to terminate Notices of Electronic Filing for the withdrawing attorney(s) in this case.


         Dated
                                                                         U. S. District Judge/U.S. Magistrate Judge



G–01 ORDER (09/17)           (PROPOSED) ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWAL OF ATTORNEY
